 

 

        

 

 

Case 1:15-cr-00355-.]FK Document 59 Filed 04/1° AH;L 01* 2
u§§§§§`§§§§§§
1 §§§§<~~ ,§§§‘ ‘
»E..§§g;‘;§, n§§§§ §§§§§§§' §§'§.§§9
UNITED STATES DISTRICT COURT `[KFCM 5
SOUTHERN DISTRICT OF NEW YORK 1 q §§1'1~`"`m
_____________________________________ X -§}A”§§`?§§§»` . _
UNITED STATES OF AMERICA : ’
-against-
STEVEN JUDE : No. 15 Cr. 355 (JFK)
Defendant. :
_____________________________________ X
STEVEN JUDE '
Petitioner,
-against-
NO. 17 c§v. 5246 (JFK)
UNITED STATES OF AMERICA
OPINION & ORDER
Respondent.
_____________________________________ X

JOHN F. KEENAN, United States District Judge:

On May lO, 2018, Defendant Steven Jude (“Jude”) filed a
motion to vacate his conviction pursuant to 28 U.S.C. § 2255.
(No. 15 Cr. 355, ECF No. 58.) As this motion was filed before
the adjudication of Jude’s previous 28 U.S.C. § 2255 motion (No.
15 Cr. 355, ECF No. 52), the Court Construes this second motion
as a motion to amend the original § 2255 motion. §e§ Ching v.
United States, 298 F.3d 1?4, 177 (2d Cir. 2002) (“[I]n general,
when a § 2255 motion is filed before adjudication of an initial
§ 2255 motion is complete, the district court should construe

the second § 2255 motion as a motion to amend the pending § 2255

Case 1:15-cr-00355-.]FK Document 59 Filed 04/18/19 Page 2 of 2

motion.”). The Court hereby ORDERS the Government to respond to
this motion to amend no later than May 9, 2019.
SO ORDERED .

_ _.('{
Dated: New York, New York ,h, mv¢;' y 1
Aprj~]"/Y ' 2019 /""XT’L/?/? ' /@AM{”°’
’b

John F% Keenan
United States District Judge

 

W\'FLHQ¢A 00€7 DF` ”'/LDS @rJ»Q»/ 71Z
Y\M_ ofng on ‘7‘1/{@%(?

w~

    

